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             . BRUTO    N    UNITED STATES DISTRICT COURT
   THOMA.SDG      IC T COURT
CLERK, U.S
           IS T R            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

   UNITED STATES OF AMERICA                   )     Case No. 21 CR 351
                                              )
         V.                                   )     Violation: Title 21, United States
                                              )     Code, Section 841(a)(l)
   ALBERTO FERNANDEZ                          )     JUDGE CHANG
                                              )     MAGISTRATE JUDGE FUENTES
                                    COUNT ONE

         The SPECIAL NOVEMBER 2020 GRAND JURY charges:

         On or about May 26, 2021, at Stone Park, in the Northern District of Illinois,

   Eastern Division,

                                ALBERTO FERNANDEZ,

   defendant herein, did knowingly and intentionally possess with intent to distribute a

   controlled substance, namely, 500 grams or more of a mixture and substance

   containing a detectable amount of cocaine, a Schedule II Controlled Substance;

         In violation of Title 21, United States Code, Section 841(a)(l).
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                                  COUNT TWO

      The SPECIAL NOVEMBER 2020 GRAND JURY further charges:

      On or about May 26, 202I, at Stone Park, in the Northern District of Illinois,

Eastern Division,

                             ALBERTO FERNANDEZ,

defendant herein, did knowingly and intentionally distribute a controlled substance,

namely, 500 grams or more of a mixture and substance containing a detectable

amount of cocaine, a Schedule   II Controlled Substance;
      In violation of Title 21, United States Code, Section 8a1(aX1).




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                                COUNT THREE

      The SPECIAL NOVEMBER 2020 GRAND JURY further charges:

      On or about May 27, 2021, at Stone Park, in the Northern District of Illinois,

Eastern Division,

                             ALBERTO FERNANDEZ,

defendant herein, did knowingly and intentionally possess with intent to distribute   a


controlled substance, namely, 500 grams or more of a mixture and substance

containing a detectable amount of cocaine, a Schedule   II Controlled Substance;
      In violation of Title 21, United States Code, Section 841(aX1).
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                          FORFEITURE ALLEGATION

      The SPECIAL NOVEMBER 2020 GRAND JURY further alleges:

      1.     Upon conviction of an offense in violation of Title 21, United States Code,

Section 841, as set forth in this Indictment, defendant ALBERTO FERNANDEZ shall

forfeit to the United States of America any property which constitutes and is derived

from proceeds obtained, directly and indirectly, as a result of the offense; and any

property used, and intended to be used, in any manner and part, to commit and

facilitate commission of the offense, as provided in Title 21, United States      Code,

Sections 853(a).

      2.     The property to be forfeited includes, but is not limited to the following

specific property: approximately $35,132 seized by law enforcement on May 27,2021,

from 1735 N. 34th Avenue, Stone Park, Illinois.

      3.     If any of the property described above, as a result of any act or omission

by a defendant: cannot be located upon the exercise of due diligence; has          been

transferred or sold to, or deposited with, a third party; has been placed beyond the

jurisdiction of the Court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without diffi.culty,
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the United States of America shall be entitled to forfeiture of substitute property, as

provided in Title 21, United States Code, Section 853(p).

                                                     A TRUE BILL:


                                                     FOREPERSON


Signed by Erika Csicsila on behalf of the
UNITED STATES ATTORNEY




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